                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

 NETCHOICE,
 Plaintiff,
 v.
                                                   Civil Action No. _____________________
 JONATHAN SKRMETTI, in his official
 capacity as the Tennessee Attorney General &
 Reporter,
 Defendant.

              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

         NetChoice brings this civil action against Defendant for declaratory and injunctive relief

and alleges as follows:

                                        INTRODUCTION

         1.     Tennessee joins a growing list of States attempting to unconstitutionally regulate

minors’ access to protected online speech—impairing adults’ access along the way. The restrictions

imposed by Tennessee House Bill 1891 (the “Act”) violate bedrock principles of constitutional

law and precedent from across the nation. As the U.S. Supreme Court has repeatedly held, “minors

are entitled to a significant measure of First Amendment protection.” Brown v. Ent. Merchs. Ass’n,

564 U.S. 786, 794 (2011) (cleaned up; quoting Erznoznik v. Jacksonville, 422 U.S. 205, 212-13

(1975)). And the government may not impede adults’ access to speech in its efforts to regulate

what it deems acceptable for minors. Ashcroft v. ACLU, 542 U.S. 656, 667 (2004); Reno v. ACLU,

521 U.S. 844, 882 (1997). These principles apply with equal force online: Governments cannot

“regulate [‘social media’] free of the First Amendment’s restraints.” Moody v. NetChoice, LLC,

144 S. Ct. 2383, 2399 (2024).




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       2.      That is why courts across the country have enjoined similar state laws restricting

minors’ access to online speech. Comput. & Commc’n Indus. Ass’n v. Paxton, 2024 WL 4051786

(W.D. Tex. Aug. 30, 2024) (“CCIA”) (enjoining law requiring filtering and monitoring of certain

content-based categories of speech on minors’ accounts); NetChoice, LLC v. Reyes, 2024 WL

4135626 (D. Utah Sept. 10, 2024) (enjoining age-assurance and parental-consent law); NetChoice,

LLC v. Fitch, 2024 WL 3276409 (S.D. Miss. July 1, 2024) (enjoining age-verification and parental-

consent law); NetChoice, LLC v. Yost, 2024 WL 555904 (S.D. Ohio Feb. 12, 2024) (enjoining

parental-consent law); NetChoice, LLC v. Griffin, 2023 WL 5660155 (W.D. Ark. Aug. 31, 2023)

(enjoining age-verification and parental-consent law).

       3.      This Court should join those courts and similarly enjoin Defendant’s enforcement

of this Act against NetChoice’s members.

       4.      The social media websites regulated by the Act allow both minors and adults to

“engage in a wide array of . . . activity on topics ‘as diverse as human thought’”—all “protected

by the First Amendment” from government interference. Griffin, 2023 WL 5660155, at *5 (quoting

Packingham v. North Carolina, 582 U.S. 98, 105 (2017)).1 The Act would fundamentally limit the

expressive activity of users by placing multiple restrictions on minors and adults’ ability to access

covered websites and, in some cases, blocking access altogether.

       5.      Accordingly, the Act—in whole and in part—is unlawful for multiple reasons.

       6.      First, the Act’s requirement that covered websites “verify the age[s] of [all] indi-

vidual[s]” (both minors and adults) “who attempt[] to become account holders,” § 47-18-




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         This Complaint refers to both “websites” and “internet applications,” § 47-18-
5702(9)(A), by the shorthand reference “websites.” It refers to websites regulated by challenged
provisions of the Act as “covered websites.” Unless otherwise noted, statutory citations in this
Motion refer to Title 47 of the Tennessee Code.

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5703(a)(1), violates the First Amendment. Fitch, 2024 WL 3276409, at *11-12 (enjoining age-

verification requirement); Griffin, 2023 WL 5660155, at *21 (same); see Reyes, 2024 WL

4135626, at *16 n.169 (enjoining similar requirement). All individuals, minors and adults alike,

must comply with this age-verification requirement, which would force them to hand over personal

information or identification that many are unwilling or unable to provide as a precondition to

accessing and engaging in protected speech. Such requirements chill speech, in violation of the

First Amendment. See, e.g., Ashcroft, 542 U.S. at 673; Reno, 521 U.S. at 882.

       7.      Second, the Act’s requirement that a minor obtain parental consent as a prerequisite

to becoming an account holder (and thus being able to access protected speech) on covered web-

sites, § 47-18-5703(a)(2)(A), violates the First Amendment. See Fitch, 2024 WL 3276409, at *12-

13 (enjoining parental-consent requirement to access protected speech); Yost, 2024 WL 555904,

*14 (same); Griffin, 2023 WL 5660155, at *21 (same); see also Reyes, 2024 WL 4135626, at *13

& n.135 (enjoining parental-consent requirement for minors to speak to certain audiences). The

Supreme Court has held that governments may not require minors to secure parental consent before

accessing protected speech. Brown, 564 U.S. at 799.

       8.      Because these provisions both burden members’ ability to disseminate—and users’

ability to access—protected speech, they independently trigger strict scrutiny.

       9.      Moreover, these speech regulations also separately trigger strict scrutiny because

they depend on the Act’s content-based and speaker-based central coverage definition of “social

media company.” § 47-18-5702(8)-(9). That coverage definition excludes websites based on their

content, such as “career development” websites or websites that provide “interactive gaming or

educational entertainment.” § 47-18-5702(2)(B), (9); see Reyes, 2024 WL 4135626, at *9-11

(holding that law’s central coverage definition was facially content-based); Fitch, 2024 WL



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3276409, at *9 (similar); Yost, 2024 WL 555904, at *8 (similar). “Content-based laws” regulating

speech “are presumptively unconstitutional and may be justified only if” they satisfy “strict scru-

tiny.” Reed v. Town of Gilbert, 576 U.S. 155, 163-64 (2015) (citations omitted). Similarly, the

coverage definition discriminates based on who is speaking—regulating covered websites but not

others focused on “[o]nline shopping” or “career development,” § 47-18-5702(9)(B)(iv)-(v), and

singling out for favorable treatment websites that “consist[] primarily of content that . . . is prese-

lected by the . . . website” while regulating websites that disseminate “content that is . . . generated

by account holders,” § 47-18-5702(9)(B)(iii)(a). Supreme Court precedent is “deeply skeptical”

of laws “distinguishing among different speakers.” NIFLA v. Becerra, 585 U.S. 755, 777-78 (2018)

(cleaned up).

        10.      None of the Act’s provisions can satisfy the demanding requirements of strict scru-

tiny, nor any level of heightened scrutiny. They are not appropriately tailored to any substantial or

compelling governmental interest.

        11.      Finally, the Act should also be enjoined as its central “social media company” def-

inition, § 47-18-5702(8), is unconstitutionally vague, leaving many websites uncertain about

whether they must shoulder the Act’s burdens.

       12.       For these reasons and more, this Court should enjoin Defendant from enforcing the

Act against Plaintiff’s members and declare the Act unlawful.

                                      PARTIES & STANDING

       13.       Plaintiff NetChoice is a District of Columbia nonprofit trade association for Internet

companies.2 NetChoice’s mission is to promote online commerce and speech and to increase




        2
            NetChoice’s members are listed at NetChoice, About Us, https://perma.cc/AS4T-AKZJ.

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consumer access and options via the Internet, while minimizing burdens that could prevent busi-

nesses from making the Internet more accessible and useful.

       14.     NetChoice has standing to bring its challenges on at least two grounds.

       15.     First, NetChoice has associational standing to challenge the Act, because: (1) some

of NetChoice’s members have individual standing to sue in their own right; (2) challenging the

Act is germane to NetChoice’s purpose; and (3) members’ individual participation is unnecessary

in this purely legal challenge. See Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 343

(1977); Reyes, 2024 WL 4135626, at *7; CCIA, 2024 WL 4051786, at *7-9; Fitch, 2024 WL

3276409, at *5-6; Yost, 2024 WL 555904, at *3-4; Griffin, 2023 WL 5660155, at *9.

       16.     Based on the Act’s definitions, § 47-18-5702, the Act regulates, at a minimum, ser-

vices offered by the following NetChoice members: (1) Dreamwidth; (2) Google, which owns and

operates YouTube; (3) Meta, which owns and operates Facebook and Instagram; (4) Nextdoor;

(5) Pinterest; (6) Snap Inc., which owns and operates Snapchat; and (7) X. Although the Act does

not regulate all of Plaintiff’s members, this Complaint refers to members with services that the Act

regulates as “members.”

       17.     Second, NetChoice has standing to assert the First Amendment rights of members’

current and prospective users. Virginia v. Am. Booksellers Ass’n, 484 U.S. 383, 392-93 (1988);

CCIA, 2024 WL 4051786, at *9; Fitch, 2024 WL 3276409, at *7; Yost, 2024 WL 555904, at *5-6;

Griffin, 2023 WL 5660155, at *11-12.3



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          Except where noted otherwise, this Complaint uses the term “user” to encompass both of
what the Act refers to as “user[s]” and “account holder[s].” § 47-18-5702(1), (10). When discuss-
ing the Act’s requirements, this Motion also uses “minor,” “adult,” “account holder,” and “user”
to refer only to Tennessee minors, adults, account holders, and users covered by the Act. Plaintiff
and its members reserve the right to argue that their compliance obligations for “users” (under the
Act) are different than their compliance obligations for “account holders,” and are different from
the burdens discussed in this Complaint.

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       18.     Defendant Jonathan Skrmetti is the Tennessee Attorney General & Reporter. De-

fendant is a Tennessee resident and is sued in his official capacity. The Act gives the Tennessee

Attorney General & Reporter authority to enforce the Act. § 47-18-5705. Defendant has publicly

pursued enforcement against some of NetChoice’s members under other laws, advancing claims

related to minors’ online welfare. See, e.g., Tennessee v. Meta Platforms, Inc., No. 23-1364-IV

(Tenn. Ch. Davidson Cnty.).

                                  JURISDICTION & VENUE

       19.     This Court has subject-matter jurisdiction under 28 U.S.C. §§ 1331 and 1343(a).

This Court has authority to grant legal and equitable relief under 42 U.S.C. § 1983, injunctive

relief under 28 U.S.C. § 1651, and declaratory relief under 28 U.S.C. § 2201(a).

       20.     This Court has personal jurisdiction over Defendant because he resides in and/or

conducts a substantial proportion of his official business in Tennessee. Venue is proper in this

District under 28 U.S.C. § 1391(b) because Defendant resides in, and the events giving rise to this

civil action occurred in, Tennessee.

                                        BACKGROUND

       21.     NetChoice members’ covered websites disseminate and facilitate speech pro-

tected by the First Amendment. Social media websites such as Plaintiffs’ members’ covered ser-

vices “engage[] in expression” through their “display” and “compil[ing] and curat[ing]” of pro-

tected “third-party speech” (text, audio, images, and video) “created by others.” Moody, 144 S. Ct.

at 2393, 2401, 2406. They “allow[] users”—both minors and adults—“to gain access to infor-

mation[,] communicate with one another,” and “engage in a wide array of protected First Amend-

ment activity.” Packingham, 582 U.S. at 105, 107.

       22.     Minors—like adults—use NetChoice members’ social media websites to engage in

speech that is entitled to First Amendment protection from governmental interference. On these

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websites, minors can “take positions on and engage with others in pursuit of the type of ‘political,

social, economic, educational, religious, and cultural’ activities” protected by the First Amend-

ment. Fitch, 2024 WL 3276409, at *10 (citation omitted); see Yost, 2024 WL 555904, at *7; Griffin,

2023 WL 5660155, at *5-6. For example, Dreamwidth allows users to share their writing, artwork,

and innermost thoughts. “On Facebook, . . . users can debate religion and politics with their friends

and neighbors or share vacation photos.” Packingham, 582 U.S. at 104. Instagram allows people

to post and view photos and videos, comment on them, learn about and advocate for the causes

they care about, showcase their art or athletic talent, and hear from their local government officials.

On Nextdoor, users can connect with neighbors, share local news, and borrow tools. Pinterest al-

lows users to explore recipes, home decor, and more. Snapchat is designed to allow users to have

digital conversations with friends and family in ways that replicate real-life interactions. On X

(formerly Twitter), “users can petition their elected representatives and otherwise engage with

them in a direct manner.” Id. at 104-05. And YouTube endeavors to show people the world, from

travel documentaries to step-by-step cooking instructions. All of these websites allow their users

to create accounts and communicate with other users through posts. § 47-18-5702(9).

       23.     Like many other websites, NetChoice members require users to create an account

before they can access some or all of the protected speech and functions available on their websites.

       24.     Existing options for parental control and oversight. Parents have many existing

choices to regulate whether and how their minor children use the Internet. See Reyes, 2024 WL

4135626, at *13 n.138; Fitch, 2024 WL 3276409, at *12; Griffin, 2023 WL 5660155, at *6-8.

       25.     Parents decide whether and when to let their minor children use computers, tablets,

smartphones, and other devices to access the Internet.




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         26.    Cellular and broadband Internet providers offer families tools to block certain

online    services   from   certain   devices.   See,   e.g., Verizon, Verizon       Smart    Family,

https://perma.cc/JL7J-UKDF?type=image; AT&T, AT&T Secure Family, https://perma.cc/NG8R-

RBDG; T-Mobile, Family Controls and Privacy, https://perma.cc/RLQ4-WVEM; Comcast Xfin-

ity, Setting Up Parental Controls for Xfinity Internet, https://perma.cc/9PZK-4S98?type=image.

         27.    Internet browsers also allow parents to control what online services their children

may access. See, e.g., Mozilla, Block and Unblock Websites with Parental Controls on Firefox,

https://perma.cc/LTS6-SNXS. For example, some browsers offer a “kids mode” or allow parents

to see what online services their children are accessing the most. See Google, Safety Center,

https://perma.cc/4KBZ-ETGM; Microsoft, Learn More About Kids Mode in Microsoft Edge,

https://perma.cc/49V7-4RNE. Parents can also use widely available third-party software and

browser extensions to reinforce these tools. See, e.g., Kim Key, The Best Parental Control Software

for 2023, PCMag (Dec. 15, 2023), https://perma.cc/4DRX-ZX3A.

         28.    Wireless routers often have settings allowing parents to block particular websites,

filter content, monitor Internet usage, and control time spent on the Internet. See, e.g., Netgear,

Netgear Smart Parental Controls, https://perma.cc/DFE6-RH95; tp-link, How to Configure Paren-

tal Controls on the Wi-Fi Routers (Case 1), https://perma.cc/3QFB-3WYP.

         29.    Device manufacturers allow parents to limit the time their children may spend on

the device, curtail the applications that can be used, filter online content, and control privacy set-

tings. See Apple, Use Parental Controls on Your Child’s iPhone and iPad, https://perma.cc/H5S5-

4BV3; Google Family Link, Help Keep Your Family Safer Online, https://perma.cc/9P23-ANWB;

Microsoft, Getting Started with Microsoft Family Safety, https://perma.cc/A3QJ-V7Y4; Samsung,

Parental Controls Available on Your Galaxy Phone or Tablet, https://perma.cc/6AU9-JMA8.



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       30.     Many third-party applications also allow parents to control and monitor their chil-

dren’s online activities. See, e.g., Alyson Behr, The Best Parental Control Apps In 2024, Tested By

Our Editors, CNN underscored (Mar. 11, 2024), https://perma.cc/D4CK-F8HS.

       31.     In addition, NetChoice members provide parents with tools and options to help

monitor their minor children’s activities. Facebook offers supervision tools that parents and guard-

ians can use to help support their teens. When supervision is set up on Facebook, a parent can see

how much time their teen has spent on the Facebook app each day for the last week and their

average daily time spent for the week; set scheduled breaks for their teen; see their teen’s Facebook

friends; see some of their teen’s privacy settings and content preferences; and see the people and

Pages their teen has blocked. See, e.g., Meta, Supervision on Facebook, https://perma.cc/E5GS-

DZKQ. Similarly, Snapchat’s “Family Center” allows parents to see which friends the teen has

been recently communicating with on Snapchat, view their list of friends, restrict sensitive content,

and report abuse. See Snapchat Support, What is Family Center, https://perma.cc/2AUN-CKD6.

Instagram currently offers supervision features for teens under 18 that allow parents and guardians

to set time limits; set reminders to close the app; see the average amount of time their teen has

spent on Instagram; see which accounts their teen is following and which accounts are following

their teen, which accounts their teen is currently blocking, and their teen’s account privacy, mes-

saging, and sensitive content settings. See, e.g., Instagram, Help Center, About Supervision on

Instagram, https://perma.cc/7AD3-L8J2. Instagram recently announced that minors under 18 will

automatically be placed into “Instagram Teen Accounts” which default to the strictest privacy set-

tings and have limitations on who can contact minors, the content minors can see, and the time of

day minors can receive notifications. See, e.g., Instagram, Introducing Instagram Teen Accounts:

Built-In Protections for Teens, Peace of Mind for Parents (Sept. 17, 2024), https://perma.cc/8EQB-



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D3DG. Minors under 16 will need a parent’s permission to change any of these Instagram Teen

Accounts settings to less strict settings. Id. Via Teen Accounts, parents will have added supervision

features, including ways to get insights into who their minors are chatting with and seeing topics

their minor is looking at. Id. YouTube offers a “supervised experience” for teens, allowing parents

(1) to receive email notifications when a teen uploads a video or starts a livestream; (2) to gain

insights into their teen’s channel activity (such as uploads, comments, and subscriptions); and

(3) an option to link accounts between a parent and teen. YouTube, My Family,

https://perma.cc/4PQF-PQXY.

       32.      All NetChoice members prohibit minors under 13 from accessing their main ser-

vices, although some offer separate experiences for users under 13 geared for that age group. For

example, YouTube offers two services (YouTube Kids and a “Supervised Experience” on

YouTube) for minors younger than 13 with parental consent. See YouTube for Families Help, Im-

portant Info for Parents About YouTube Kids, https://perma.cc/M386-KX4E; YouTube Help, What

Is a Supervised Experience on YouTube, https://perma.cc/TY6N-MX6Z. These services allow par-

ents to select content settings, set screen-time limits, and otherwise oversee their children’s use of

the services.

       33.      Covered websites’ dedication to beneficial user experiences and user secu-

rity. NetChoice’s members expend vast resources to improve their services and curate the content

on their websites to best ensure that it is appropriate for users, especially with respect to minors.

They restrict the publication of content they consider harmful, like violent and sexual content,

bullying, harassment, and content that encourages body shaming or eating disorders. Conversely,

many covered websites promote positive and age-appropriate content, such as content that encour-

ages a healthy self-image.



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                                TENNESSEE HOUSE BILL 1891

       34.     The Tennessee Legislature enacted House Bill 1891, which places multiple content-

and speaker-based speech restrictions—including parental-consent and age-verification require-

ments—on certain websites and their users.

       35.     The Act takes effect on January 1, 2025.

       36.     Content- and speaker-based central coverage definition of “social media com-

pany” (§ 47-18-5702(8)). The Act’s speech regulations apply to only a subset of Internet websites.

The Act’s coverage depends on a content-based and speaker-based set of definitions and exclu-

sions. The Act regulates only “social media compan[ies]” providing “social media platform[s].”

§ 47-18-5702(8). These covered “actors” and “activities,” Moody, 144 S. Ct. at 2398, include the

members and services identified above in ¶ 16.

       37.     The Act defines “[s]ocial media company” as “a person that is an interactive com-

puter service and that provides a social media platform.” § 47-18-5702(8); see § 47-18-5702(3)

(defining “[i]nteractive computer service”).

       38.     In turn, a “social media platform” means “a website or internet application that”:

               (i) Allows a person to create an account; and
               (ii) Enables an account holder to communicate with other account holders and users
               through posts[.]

§ 47-18-5702(9)(A). Moody applied full First Amendment protection to websites that work in ex-

actly this way—to “allow users to upload content . . . to share with others” and allow those “view-

ing the content . . . [to] react to it, comment on it, or share it themselves.” 144 S. Ct. at 2394-95.

       39.     The Act defines “[p]ost” to mean “content that an account holder makes available

on a social media platform for other account holders and users to consume.” § 47-18-5702(7). This

definition of “post” limits the Act’s coverage to services that publicly disseminate speech on feeds,

boards, forums, and similar webpages for multiple users to see, which accords with the common

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understanding of the term. See, e.g., Posting, Cambridge.org Dictionary, https://perma.cc/64Z7-

AR73 (“an electronic message or information that is put on a website in order to allow many people

to see it”). A “post” on a “social media platform” therefore does not include “direct messaging” or

“email.” Moody, 144 S. Ct. at 2398; see also § 47-18-5702(9)(B)(ii) (expressly excluding “[a]n

email service”).

       40.     The Act also contains a long list of content-based exclusions from its coverage def-

inition. First, the Act excludes “interactive gaming or educational entertainment” from the “con-

tent” of “post[s]” it covers. § 47-18-5702(2)(B).

       41.     Second, the Act’s definition of “social media platform” also contains a litany of

content-based and speaker-based exceptions. The Act’s coverage definition “[d]oes not include:”

       (i) A broadband internet access service . . . ;
       (ii) An email service;
       (iii) An internet service, internet application, or website:
                (a) That consists primarily of content that is not generated by account holders, but
                    rather is preselected by the service, application, or website provider; and
                (b) For which interactive functionality is incidental to, directly related to, or de-
                    pendent upon, the preselected content described in subdivision (9)(B)(iii)(a);
       (iv) Online shopping, if the interaction with other account holders or users is predominantly
       limited to the ability to send, receive, request, or settle funds, comment on transactions,
       display goods for sale, engage as consumers about products and reviews, or post a wish
       list;
       (v) An internet service, internet application, or website that primarily provides career de-
       velopment opportunities;
       (vi) A cloud storage or cloud computing service;
       (vii) An online service, application, or website in which interaction between users is pre-
       dominately used for technical support, or limited to reviewing products offered for sale by
       electronic commerce or commenting on such reviews posted by other users; or
       (viii) Peer-to-peer payment platforms, if the interaction with other users or account holders
       is generally limited to the ability to send, receive, or request funds and to like or comment
       on such transactions, or other functions that are focused on sending, receiving, requesting,
       or settling payments between users or account holders[.]

§ 47-18-5702(9)(B) (paragraph breaks adjusted).

       42.     Accordingly, the Act excludes services for which Moody questioned whether a dif-

ferent First Amendment analysis might apply when assessing the First Amendment implications

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of distinct laws that may also regulate non-social media services. See Moody, 144 S. Ct. at 2398

(discussing email, online marketplace, ride-sharing, and peer-to-peer payment services). The Act’s

exclusion of “email service[s],” § 47-18-5702(9)(B)(ii), excludes “email,” Moody, 144 S. Ct. at

2398. The Act’s exclusion of “[o]nline shopping,” § 47-18-5702(9)(B)(iv), excludes “online mar-

ketplace[s] like Etsy,” Moody, 144 S. Ct. at 2398. The Act’s exclusion of “[p]eer-to-peer payment

platforms,” § 47-18-5702(9)(B)(viii), excludes “payment service[s] like Venmo,” Moody, 144 S.

Ct. at 2398. And the Act’s exclusion of websites “consist[ing] primarily of content that is . . . pre-

selected by the [website],” § 47-18-5702(9)(B)(iii)(a), excludes “ride-sharing service[s] like

Uber,” Moody, 144 S. Ct. at 2398.

        43.      Nothing in the Act defines key coverage terms, such as “primarily,” “interactive

functionality,” “incidental to,” “predominantly,” and “generally.” § 47-18-5702(9)(B)(iii)(a)-(b),

(iv)-(v), (vii)-(viii).

        44.      Age-verification (§ 47-18-5703(a)(1)). The Act requires covered websites to “ver-

ify the age of an individual who attempts to become an account holder, at the time the individual

attempts to become an account holder.” § 47-18-5703(a)(1). The Act does not define or explain

how covered websites must verify the ages of individuals who attempt to become account holders.

        45.      The Act’s age-verification requirement means that covered websites must verify

every new account holder’s age. But many people will not or cannot provide proof of age to gain

access to the covered websites. That will deter people—both minors and adults—from accessing

covered websites, thereby chilling their protected speech.

        46.      Once an account holder’s age has been verified, a covered social media company

“is not required to reverify the individual’s age . . . unless [the] parental consent” required for a

minor to become an account holder “is revoked,” § 47-18-5703(a)(3).



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       47.     The Act provides that a “social media company or third party shall not retain per-

sonally identifying information that was used to verify age.” § 47-18-5703(c). Although this pro-

vision contemplates that “personally identifying information” is required to verify age, it does not

define that term nor state to what extent a covered website can use such information to verify a

user’s age.

       48.     Parental consent (§ 47-18-5703(a)(2)). The Act provides that, upon verifying an

individual’s age, “[i]f the individual is a minor, then the social media company must verify the

express parental consent for the minor to become an account holder.” § 47-18-5703(a)(2)(A).4

       49.     If the covered “social media company” does not have “the express consent of the

minor’s parent to allow the minor to become an account holder,” then the “social media company

shall prohibit a minor from becoming an account holder.” § 47-18-5703(a)(2)(B). Thus, the Act

requires covered websites to obtain express parental consent as a precondition to access protected

speech on covered websites.

       50.     The Act does not define what is required to verify parental consent or what methods

of parental consent are acceptable.

       51.     The Act provides that “[a] social media company shall allow a parent to revoke

consent for a minor to become or continue as an account holder.” § 47-18-5703(b). And once pa-

rental consent has been verified, a social media company “is not required to reverify the individ-

ual’s . . . parental consent, unless parental consent is revoked.” § 47-18-5703(a)(3).

       52.     The Act provides that a “social media company or third party shall not retain per-

sonally identifying information that was used to verify . . . parental consent.” § 47-18-5703(c).



       4
         The Act defines “[m]inor” as “an individual who is: (A) Known or reasonably believed
by a social media platform to be under eighteen (18) years of age; (B) Not emancipated; and (C) A
resident of this state.” § 47-18-5702(4).

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Although this provision contemplates that “personally identifying information” is required to ver-

ify parental consent, it does not define that term nor state to what extent a covered website can use

such information to verify parental consent for a user to become an account holder.

       53.     The Act does not account for the difficulty in verifying a parent-child relationship.

Griffin, 2023 WL 5660155, at *4 (“[T]he biggest challenge . . . with parental consent is actually

establishing . . . the parental relationship.”); see Fitch, 2024 WL 3276409, at *13. These difficul-

ties are compounded when, e.g., families are nontraditional, families have differences in surname

or address, parents disagree about consent, minors are unsafe at home, parents do not have or are

unwilling to electronically submit documentation, or parental rights have been terminated.

       54.     Parental supervision (§ 47-18-5704). The Act requires a “social media company”

to “provide a minor account holder’s parent with means for the parent to supervise the minor’s

account.” § 47-18-5704. These “means must include options for the parent to view privacy settings

on the account, set daily time restrictions, and implement breaks during which the minor cannot

access the account.” Id.

       55.     Although parental supervision is “option[al]” for parents, the Act still burdens cov-

ered websites’ protected speech (and minors’ access to protected speech) by requiring them to

implement specific “means” of parental supervision.

       56.     The Act’s enforcement provisions (§ 47-18-5705). The Act gives the Tennessee

Attorney General & Reporter authority to enforce the Act. Specifically, it provides that “[i]f the

attorney general and reporter believes that a social media company is engaged in, has engaged in,

or is about to engage in an act or practice prohibited by [the Act] and that proceedings would be in

the public interest, then the attorney general and reporter may” conduct an investigation or bring




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an action in court for violations of the Act under Tennessee’s Consumer Protection Act. § 47-18-

5705 (citing §§ 47-18-106, 47-18-108).

           57.   The Act provides that in an action under the Tennessee Consumer Protection Act,

“the attorney general and reporter may recover the penalties and other relief authorized under § 47-

18-108.” § 47-18-5705(a)(2). Those penalties include a “civil penalty of not more than one thou-

sand dollars ($1,000) for each violation,” costs, expenses, and attorney’s fees. § 47-18-108(b)(3).

Furthermore, in such an action, a court may revoke a license authorizing a person to engage in

business in Tennessee for knowing and persistent violations and may issue “a civil penalty of not

more than two thousand dollars ($2,000), recoverable by the state for each violation,” for any

“knowing violation” of an injunction issued by the court. § 47-18-108(b)(2), (c).

                                               CLAIMS

           58.   Plaintiff raises both (1) a facial challenge to the Act’s provisions challenged in this

lawsuit; and (2) a challenge to these provisions as applied to the members and services identified

in ¶ 16.

           59.   For all First Amendment claims, the facial challenge standard asks whether “a sub-

stantial number of [the Act’s] applications are unconstitutional, judged in relation to the statute’s

plainly legitimate sweep.” Moody, 144 S. Ct. at 2397 (citation omitted). At a minimum, the Act is

invalid to the extent it regulates “social media” websites, including as applied to Plaintiffs’ mem-

bers’ regulated services identified in ¶ 16. See John Doe No. 1 v. Reed, 561 U.S. 186, 194 (2010)

(analyzing First Amendment challenge “to the extent of [the] reach” defined by Plaintiff).

           60.   The First Amendment facial challenge here is straightforward “from the face of the

law” because all aspects of the Act’s speech-restricting provisions, “in every application to a cov-

ered social media company, raise the same First Amendment issues,” so the Court “need not ‘spec-

ulate about “hypothetical” or “imaginary” cases.’” X Corp. v. Bonta, 2024 WL 4033063, at *6

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(9th Cir. Sept. 4, 2024) (quoting Wash. State Grange v. Wash. State Republican Party, 552 U.S.

442, 450 (2008)); CCIA, 2024 WL 4051786, at *15 (facial challenge proper because state law

“raises the same First Amendment issues in every application to a covered business” (quoting

NetChoice, LLC v. Bonta, 113 F.4th 1101, 1116 (9th Cir. 2024) (affirming preliminary injunction

of law requiring websites to issue reports opining on potential harms to minors); (internal quotation

marks omitted))); Reyes, 2024 WL 4135626, at *9 n.92 (noting that First Amendment facial chal-

lenge “questions are easily answered” where “[t]here is no dispute about who and what the Act

regulates” or “how the First Amendment applies to different websites or regulatory requirements”

(internal citation omitted)).

        61.     Similarly, for Plaintiff’s First and Fourteenth Amendment vagueness claims, the

court must “determine whether the enactment reaches a substantial amount of constitutionally pro-

tected conduct.” Belle Maer Harbor v. Charter Twp. of Harrison, 170 F.3d 553, 557 (6th Cir. 1999)

(quoting Vill. of Hoffman Ests. v. Flipside, Hoffman Ests., Inc., 455 U.S. 489, 494 (1982)); see

Kolender v. Lawson, 461 U.S. 352, 358 n.8 (1983). Here, a facial vagueness challenge is proper

because “there is no reason to believe one social media company is better suited than another to

understand [the Act’s] vague terms.” CCIA, 2024 WL 4051786, at *9.

        62.     Each First and Fourteenth Amendment challenge raises the rights of both

NetChoice members and those who use or could prospectively use NetChoice members’ websites.

                               COUNT I
                            42 U.S.C. § 1983
  VIOLATION OF THE FIRST AMENDMENT, AS INCORPORATED AGAINST THE
               STATES BY THE FOURTEENTH AMENDMENT
            (ALL SPEECH REGULATIONS DEPENDING ON THE
         CENTRAL COVERAGE PROVISIONS – § 47-18-5702(2), (7)-(9))

        63.     Plaintiff incorporates all prior paragraphs as though fully set forth herein.




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       64.     As incorporated against the States by the Fourteenth Amendment, the First Amend-

ment’s Free Speech and Free Press Clauses provide that governments “shall make no Law . . .

abridging the Freedom of Speech, or of the Press.” U.S. Const. amend. I. The First Amendment

protects “publish[ing],” Reno, 521 U.S. at 852-53; “disseminat[ing],” 303 Creative LLC v. Elenis,

600 U.S. 570, 594 (2023); and “creating, distributing, [and] consuming” protected speech. Brown,

564 U.S. at 792 n.1. And those rights apply to “social-media platforms.” Moody, 144 S. Ct. at

2394. The “speech social media companies engage in when they make decisions about how to

construct and operate their platforms . . . is protected speech” under the First Amendment. Reyes,

2024 WL 4135626, at *8.

       65.     “When the Government restricts speech, the Government bears the burden of prov-

ing the constitutionality of its actions.” FEC v. Cruz, 596 U.S. 289, 305 (2022) (citation omitted).

       66.     The State cannot demonstrate that the Act’s restrictions and burdens on speech sat-

isfy any form of heightened First Amendment scrutiny because the Act’s central coverage provi-

sions are unconstitutionally content-based and speaker-based. The “Government’s content-based

burdens must satisfy the same rigorous scrutiny as its content-based bans.” Sorrell v. IMS Health,

Inc., 564 U.S. 552, 566 (2011) (citation omitted). The State cannot articulate a sufficient govern-

mental interest supporting the Act, and—even if it could—the Act is not properly tailored to satisfy

any form of First Amendment scrutiny.

       67.     The Act triggers strict scrutiny. The Act triggers strict scrutiny because its provi-

sions defining which “social media compan[ies]” are covered, § 47-18-5702(2), (7)-(9), are con-

tent-based and speaker-based.

       68.     The First Amendment’s “most basic” principle is that “government has no power

to restrict expression because of its message, its ideas, its subject matter, or its content.” Brown,



                                                 18
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564 U.S. at 790-91 (citation omitted). A law “is facially content based . . . if it applies to particular

speech because of the topic discussed or the idea or message expressed.” City of Austin v. Reagan

Nat’l Advert. of Austin, LLC, 596 U.S. 61, 69 (2022) (internal quotation marks and citation omit-

ted). Government cannot use “subtler forms of discrimination that achieve identical results based

on function or purpose.” Id. at 74. “Content-based laws . . . are presumptively unconstitutional.”

Reed, 576 U.S. at 163 (citations omitted).

        69.     The Act is a content-based law. For instance, the Act excludes a host of websites

based on the subject matter presented on the particular website, including “[o]nline shopping,”

“career development opportunities,” “technical support,” “reviewing products offered for sale,”

“commenting on . . . reviews posted by other users,” and “like[s]” or “comment[s]” on “[p]eer-to-

peer payment platform[]” transactions. § 47-18-5702(9)(B)(iv)-(v), (vii)-(viii). Likewise, the Act

excludes “interactive gaming” and “educational entertainment” from the definition “content” cov-

ered by the Act. § 47-18-5702(2)(B). “That is about as content-based as it gets.” Barr v. Am. Ass’n

of Pol. Consultants, Inc., 591 U.S. 610, 619 (2020) (controlling plurality op.) (content-based ex-

ceptions trigger strict scrutiny); see also Reyes, 2024 WL 4135626, at *10; Fitch, 2024 WL

3276409, at *9; Yost, 2024 WL 555904, at *11.

        70.     In addition, the Act only regulates websites that “[e]nable[] an account holder to

communicate with other account holders and users through posts” but excludes websites that “con-

sist[] primarily of content . . . preselected by the . . . website.” § 47-18-5702(9)(A)(ii), (B)(iii)(a).

That is, websites where “interactive functionality” between users is limited to content “preselected

by the . . . website” are exempted from the Act’s reach, but websites where the entire purpose is

the “interactive functionality” between users and the “posts” they “generate[]” are covered. § 47-




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18-5702(9)(A)(ii), (B)(iii)(a)-(b). That is a content-based distinction between websites. See, e.g.,

Reyes, 2024 WL 4135626, at *10 n.105.

       71.     The Act’s central coverage definition is also speaker-based, as it discriminates

based on who is disseminating speech—regulating covered websites but not others focused on

“[o]nline shopping,” “career development,” “technical support,” “reviewing products offered for

sale,” “interactive gaming,” or “educational entertainment.” § 47-18-5702(2)(B), (9)(B)(iv)-(v),

(vii). “[L]aws that single out [a subset of speakers], or certain elements thereof, for special treat-

ment pose a particular danger of abuse by the State, and so are always subject to at least some

degree of heightened First Amendment scrutiny.” Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622,

640-41 (1994) (cleaned up). Supreme Court precedent is “deeply skeptical” of laws “distinguish-

ing among different speakers.” NIFLA, 585 U.S. at 777-78.

       72.     The Act’s central coverage definition is also speaker-based because it singles out

for favorable treatment websites that “consist[] primarily of content that . . . is preselected by

the . . . website” while burdening websites that disseminate “content that is . . . generated by ac-

count holders,” § 47-18-5702(2)(B)(iii)(a), even if those websites also post or create their own

content (as many websites do).

        73.     Because the Act’s central coverage definition is both content-based and speaker-

based, so too is each provision of the Act restricting speech that relies on this definition. See Reyes,

2024 WL 4135626, at *8 (finding “persuasive” the argument that “the entire Act facially violates

the First Amendment because the Act’s operative [speech-restricting] provisions each rely on the

Central Coverage Definition”) (citation omitted)).

       74.     The Act’s age-verification requirement, § 47-18-5703(a)(1), regulates and burdens

speech by requiring adults and minors to provide personal information to access protected speech.



                                                   20
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       75.     The Act’s parental-consent requirement, § 47-18-5703(a)(2), regulates and burdens

speech by requiring minors to obtain parental consent to access protected speech.

       76.     The Act’s parental-supervision requirement, § 47-18-5704, regulates speech by

imposing legal duties on covered websites for disseminating speech of a certain type of content.

       77.     Therefore, because each of these provisions of the Act is a “[g]overnment

regulation of speech,” Reed, 576 U.S. at 163, and relies on the Act’s content-based and speaker-

based central coverage definition, each provision triggers strict scrutiny.

       78.     All of the Act’s speech regulations fail strict scrutiny. Under strict scrutiny, the

State must demonstrate that the Act is “the least restrictive means of achieving a compelling state

interest.” Ams. for Prosperity Found. v. Bonta, 594 U.S. 595, 607 (citation omitted). Strict scrutiny

demands that “the curtailment of free speech must be actually necessary to the solution.” Brown,

564 U.S. at 799. Further, under the First Amendment, Defendant has the burden to “specifically

identify” how the Act addresses an “actual problem in need of solving.” Id. (citation omitted);

Reyes, 2024 WL 4135626, at *12 (same) (citations omitted). Moreover, Defendant must demon-

strate that there is a problem in need of governmental solution, as compared to private, family

solutions, and that any such governmental solution is one that has the least possible restrictive

effect on speech.

       79.     The State cannot meet its burden here because the Act does not serve any compel-

ling government interest. See, e.g., Reyes, 2024 WL 4135626, at *12.

       80.     Although “a State possesses legitimate power to protect children from harm,” “that

does not include a free-floating power to restrict the ideas to which children may be exposed.”

Brown, 564 U.S. at 794 (cleaned up).




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       81.     Moreover, parents have a wealth of choices to help oversee their minor children

online, and those choices provide families more flexibility than the State’s one-size-fits-all man-

date. The Supreme Court has repeatedly endorsed similar parental controls over governmental in-

tervention. See, e.g., Ashcroft, 542 U.S. at 667; United States v. Playboy Ent. Grp., Inc., 529 U.S.

803, 826 (2000).

       82.     The State has not “specifically identif[ied]” how the Act’s scope responds to “an

actual problem in need of solving” by government mandate. Brown, 564 U.S. at 799 (cleaned up).

Nor has it demonstrated why the Legislature ignored the viable alternatives available to parents.

See, e.g., Bonta, 113 F.4th at 1121; Reyes, 2024 WL 4135626, at *13.

       83.     The Act is also not properly or narrowly tailored to any articulated interest. It “is

either underinclusive or overinclusive, or both, for all the purported government interests at stake.”

Reyes, 2024 WL 4135626, at *16 n.170; see Fitch, 2024 WL 3276409, at *14 (similar); Yost, 2024

WL 555904, at *13 (similar).

       84.     The Act is overinclusive because it regulates all manner of protected speech, in-

cluding political and religious speech that lies at the very heart of the First Amendment.

       85.     The Act’s one-size-fits-all approach of treating all minors at every development

stage alike—from websites’ youngest users to seventeen-year-olds—is also vastly overbroad. See

Reno, 521 U.S. at 866; Am. Booksellers Ass’n, 484 U.S. at 396.

       86.     The Act is simultaneously underinclusive, because it includes myriad exemptions,

some of which result in allowing access to the exact same speech on a smaller or different website.

For instance, a 16-year-old can exchange content with other users from around the world while

gaming on Roblox (“interactive gaming”) but cannot share the same content with individuals on

Instagram without parental consent; she can network with colleagues and potential employers on



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LinkedIn but cannot network with those same individuals on X without parental consent. These

exemptions undermine any contention that the State is addressing a “serious social problem.”

Brown, 564 U.S. at 802; Griffin, 2023 WL 5660155, at *19 (holding that state law regulating some

websites but exempting “interactive gaming websites and platform[s]” which “predators com-

monly use to communicate with children” was “not narrowly tailored”). In fact, the Act peculiarly

seems to regulate websites that are most likely to offer parental controls and engage in content

moderation, see supra ¶¶ 31-33, while leaving unregulated many websites that lack such oversight.

       87.     The Act’s central coverage definition is integral to each of the Act’s operative

speech regulations. It cannot be severed. Without this central definition, no other provision in the

Act could operate. Thus, all of the Act’s speech regulations are invalid.

       88.     Unless declared invalid and enjoined, the Act will unlawfully deprive Plaintiff’s

members and Internet users of their fundamental First Amendment rights and will irreparably harm

Plaintiff, its members, and Internet users.

                              COUNT II
                           42 U.S.C. § 1983
 VOID FOR VAGUENESS UNDER THE FIRST AND FOURTEENTH AMENDMENTS
            (ALL SPEECH REGULATIONS DEPENDING ON THE
         CENTRAL COVERAGE DEFINITION – § 47-18-5702(2), (7)-(9))

       89.     Plaintiff incorporates all prior paragraphs as though fully set forth herein.

       90.     The Act’s central coverage definition of “social media company,” § 47-18-5702(8),

is unconstitutionally vague, and it violates principles of free speech and due process.

       91.     “A fundamental principle in our legal system is that laws which regulate persons or

entities must give fair notice of conduct that is forbidden or required.” FCC v. Fox TV Stations,

Inc., 567 U.S. 239, 253 (2012). And a law is unconstitutionally vague if it “fails to provide a person

of ordinary intelligence fair notice of what is prohibited, or is so standardless that it authorizes or

encourages seriously discriminatory enforcement.” United States v. Williams, 553 U.S. 285, 304

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(2008). The constitutional standard for vagueness is heightened for speech restrictions under the

First Amendment. Fox, 567 U.S. at 253-54.

       92.     The Act’s central coverage definition fails to provide necessary notice. The central

coverage definition’s exclusions inconsistently use different terms to describe the scope of content

on exempted websites. For example, it does not define “primarily,” “incidental to,” “predomi-

nantly,” and “generally.” § 47-18-5702(9)(B)(iii)(a)-(b), (iv)-(v), (vii)-(viii). That means that web-

sites do not know what it means to “consist[] primarily of content that is not generated by account

holders” or “primarily provide[] career development opportunities.” § 47-18-5702(9)(B)(iii)(a),

(v). LinkedIn, for example, is arguably a professional development website; yet LinkedIn also

allows account holders to use the website for many other purposes, such as advocacy, advertising,

or simply social interaction. It is not clear how much of LinkedIn’s content must be related to

career development opportunities for LinkedIn to be considered exempt from the Act.

       93.     More critically, the Act uses other overlapping words to describe the scope of con-

tent on covered websites. For example, how does (1) the use of “predominately” in the exception

for a “website in which interaction between users is predominately used for technical support” or

(2) “generally” in the statutory exception for interactions on peer-to-peer payment platforms that

are “generally limited to the ability to send, receive, or request funds and to like or comment on

such transactions,” § 47-18-5702(9)(B)(vii)-(viii) (emphases added), differ from (3) the use of

“primarily” in the other exceptions, § 47-18-5702(9)(B)(iii)(a), (v)?

       94.     Moreover, the Act excludes websites where the “interactive functionality is inci-

dental to . . . preselected content.” § 47-18-5702(9)(B)(iii)(b). The use of terms like “primarily,”

“predominantly,” “generally,” and “incidental to” without definition renders the Act unconstitu-

tionally vague. See Fitch, 2024 WL3276409, at *15 (holding that the terms “primarily” and



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“incidental to” in central coverage definition were “overly indefinite, leaving it open for potential

arbitrary and discriminatory enforcement”).

       95.     Many websites, including NetChoice members, will have no way of knowing what

these “term[s]” mean, even though they are “critical to determining which entities fall within [the

Act]’s scope.” Griffin, 2023 WL 5660155, at *13. Therefore, the Act “leav[es] companies to choose

between risking unpredictable and arbitrary enforcement . . . and trying to implement the Act’s

costly . . . requirements. Such ambiguity renders a law unconstitutional.” Id.; Fox, 567 U.S. at 253.

       96.     Because of this vagueness, the Act’s central coverage definition violates the First

Amendment and the Due Process Clause of the Fourteenth Amendment.

       97.     The Act’s central coverage definition is integral to each of the Act’s operative

speech regulations. It cannot be severed. Without this central definition, no other provision in the

Act could operate. Thus, all of the Act’s speech regulations are invalid.

       98.     Unless declared invalid and enjoined, the Act will unlawfully deprive Plaintiff’s

members and Internet users of their fundamental First Amendment and Due Process rights and will

irreparably harm Plaintiff, its members, and Internet users.

                              COUNT III
                            42 U.S.C. § 1983
  VIOLATION OF THE FIRST AMENDMENT, AS INCORPORATED AGAINST THE
               STATES BY THE FOURTEENTH AMENDMENT
                 (AGE VERIFICATION – § 47-18-5703(a)(1))

       99.     Plaintiff incorporates all prior paragraphs as though fully set forth herein.

       100.    The Act’s age-verification requirement, § 47-18-5703(a)(1), is unconstitutional and

cannot satisfy any form of First Amendment scrutiny.

       101.    Governments cannot require people to provide identification or personal infor-

mation to access protected speech. See, e.g., Ashcroft, 542 U.S. at 667; Reno, 521 U.S. at 874.



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       102.    These principles apply equally to minors, as age-verification to access websites

“obviously burden[] minors’ First Amendment Rights.” Griffin, 2023 WL 5660155, at *17 (dis-

cussing Brown, 564 U.S. at 794-95).

       103.    “Requiring adult users to produce state-approved documentation to prove their age

and/or submit to biometric age-verification testing imposes significant burdens on adult access to

constitutionally protected speech and ‘discourages users from accessing the regulated sites.’” Id.

(quoting Reno, 521 U.S. at 856); see Fitch, 2024 WL 3276409, at *12 (holding that age-verifica-

tion requirement “burdens adults’ First Amendment rights, and that alone makes it overinclusive”).

So too for minors. Those who are not deterred must “forgo the anonymity otherwise available on

the internet” as the state-imposed price of admission. Griffin, 2023 WL 5660155, at *17 (quoting

Am. Booksellers Found. v. Dean, 342 F.3d 96, 99 (2d Cir. 2003)); see ACLU v. Mukasey, 534 F.3d

181, 197 (3rd Cir. 2008) (“relinquish the anonymity to access protected speech”).

       104.    The age-verification provision triggers strict scrutiny because it relies on the Act’s

central coverage definition.

       105.    The age-verification provision also independently triggers strict scrutiny.

       106.    The State cannot demonstrate what purported problem this provision responds to,

how the provision is necessary to solve the problem, or why the existing and plentiful choices of

private tools available to parents are insufficient to address any purported problem.

       107.    The age-verification requirement is also not properly tailored. For example, the Act

is underinclusive because it requires age verification before adults and minors can access content

on certain disfavored websites while allowing adults and minors to access the same content on

other websites without such verification.




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          108.   The Act’s age-verification requirement is integral to the entire Act. Without this

provision, no other provision in the Act could operate. The age-verification provision is not sever-

able and thus the entire Act is invalid.

          109.   Unless declared invalid and enjoined, the Act’s age-verification provision, § 47-18-

5703(a)(1), will unlawfully deprive Plaintiff’s members and Internet users of their fundamental

First Amendment rights and will irreparably harm Plaintiff, its members, and Internet users.

                              COUNT IV
                            42 U.S.C. § 1983
  VIOLATION OF THE FIRST AMENDMENT, AS INCORPORATED AGAINST THE
               STATES BY THE FOURTEENTH AMENDMENT
                 (PARENTAL CONSENT– § 47-18-5703(a)(2))

          110.   Plaintiff incorporates all prior paragraphs as though fully set forth herein.

          111.   The Act’s parental-consent requirement, § 47-18-5703(a)(2), is unconstitutional

and cannot satisfy any form of First Amendment scrutiny.

          112.   Minors have robust First Amendment rights, and websites that publish and dissem-

inate protected speech have the right to publish and disseminate that speech to minors absent gov-

ernmental restraint. Although States have power to protect minors, that power “does not include a

free-floating power to restrict the ideas to which children may be exposed.” Brown, 564 U.S.

at 794.

          113.   The Act requires covered websites and minor users to secure parental consent be-

fore allowing minor users to create or maintain an account and, therefore, before they can access

protected speech. § 47-18-5703(a)(2). If a covered website cannot obtain express parental consent

for a minor user, it must “prohibit [the] minor from becoming an account holder,” barring access

to protected speech. § 47-18-5703(a)(2)(B). But the Supreme Court has held that laws requiring

parental consent for minors to access protected speech are unconstitutional. Brown, 564 U.S. at 795

& n.3, 804-05.

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       114.    These First Amendment protections should apply with equal force to the covered

websites here, which the Supreme Court has repeatedly recognized disseminate and facilitate a

broad range of protected speech. Moody, 144 S. Ct. at 2393, 2399, 2401; Packingham, 582 U.S. at

105. That, in part, is why courts have held that parental-consent requirements for minors to use

“social media” websites violate the First Amendment. Fitch, 2024 WL 3276409, at *13; Yost, 2024

WL 555904, at *12; Griffin, 2023 WL 5660155, at *18.

       115.    The parental-consent requirement triggers strict scrutiny because it relies on the

Act’s central coverage definition.

       116.    The parental-consent requirement also independently triggers strict scrutiny. Yost,

2024 WL 555904, at *12.

       117.    The State cannot demonstrate what purported problem the parental-consent provi-

sion responds to, how the provision is necessary to solve the problem, or why the existing and

plentiful choices of private tools available to parents are insufficient to address any purported

problem.

       118.    The parental-consent requirement is also not properly tailored.

       119.    For example, the Act is underinclusive because it still allows minors to be exposed

to the alleged risks or harms the State claims the Act was created to address so long as they have

a single parent’s consent. Brown, 564 U.S. at 802.

       120.    Similarly, the Act is underinclusive because it requires parental consent for minors

to access content on certain disfavored websites while allowing minors to access the same content

on other websites without such consent.

       121.    Likewise, the Act is underinclusive because it requires parental consent only for

minors who are new account holders on certain disfavored websites while allowing minors who



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are already account holders to access the same content on the same disfavored websites without

such consent.

       122.     Unless declared invalid and enjoined, the Act’s parental-consent requirement, § 47-

18-5703(a)(2), will unlawfully deprive Plaintiff’s members and Internet users of their fundamental

First Amendment rights and will irreparably harm Plaintiff, its members, and Internet users.

                                          COUNT V
                                      EQUITABLE RELIEF

       123.     Plaintiff incorporates all prior paragraphs as though fully set forth herein.

       124.     The Act, §§ 47-18-5701 to 5706—both as a whole and individual challenged pro-

visions of the Act—violate federal law and deprive Plaintiff, its members, and its members’ users

of enforceable federal rights. Federal courts have the power to enjoin unlawful actions by state

officials. Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 326 (2015).

       125.     This Court can and should exercise its equitable power to enter an injunction pro-

hibiting Defendant from enforcing the Act and all the challenged provisions of the Act against

Plaintiff and its members.

                                           COUNT VI
                             42 U.S.C. § 1983 AND 28 U.S.C. § 2201
                                  DECLARATORY RELIEF

       126.     Plaintiff incorporates all prior paragraphs as though fully set forth herein.

       127.     The Act violates the First Amendment and Due Process Clause of the Fourteenth

Amendment to the Constitution and thereby deprives Plaintiff, its covered members, and Internet

users of enforceable rights. The Act is unlawful and unenforceable because the entire Act relies on

an unconstitutional central coverage definition of covered “social media compan[ies].” § 47-18-

5702(8).




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          128.   Sections 47-18-5702(2), (7)-(9); 47-18-5703; and 47-18-5704 of the Act are unlaw-

ful and unenforceable, together and separately, because they violate the First Amendment to the

Constitution and thereby deprive Plaintiff, its covered members, and Internet users of enforceable

rights.

          129.   Sections 47-18-5702(2), (7)-(9); 47-18-5703; and 47-18-5704 of the Act are unlaw-

ful and unenforceable because they are unconstitutionally vague in violation the First Amendment

and Due Process Clause of the Fourteenth Amendment to the Constitution and thereby deprive

Plaintiff, its covered members, and Internet users of enforceable rights.

          130.   The unlawful portions of the Act are not severable from the rest of the Act. The

entire Act is therefore unlawful and unenforceable.

          131.   With exceptions not relevant here, in any “case of actual controversy within [their]

jurisdiction,” federal courts have the power to “declare the rights and other legal relations of any

interested party seeking such declaration.” 28 U.S.C. § 2201(a).

          132.   This Court can and should exercise its equitable power to enter a declaration that

the entire Act is unconstitutional and otherwise unlawful.

          133.   This Court can and should exercise its equitable power to enter a declaration that

each of the Act’s challenged provisions is unconstitutional and otherwise unlawful.

                                      PRAYER FOR RELIEF

Plaintiff requests an order and judgment:

          a. declaring that Tennessee House Bill 1891 is unlawful;
          b. declaring that Tennessee House Bill 1891 violates the First Amendment to the Consti-
             tution, as incorporated by the Fourteenth Amendment;
          c. declaring that Tennessee House Bill 1891 is void for vagueness under the First Amend-
             ment and the Due Process Clause of the Fourteenth Amendment to the Constitution;
          d. declaring that §§ 47-18-5702(2), (7)-(9); 47-18-5703; and 47-18-5704 violate the First
             Amendment to the Constitution, as incorporated by the Fourteenth Amendment;


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    e. declaring that §§ 47-18-5702(2), (7)-(9); 47-18-5703; and 47-18-5704 are void for
       vagueness in violation the First Amendment and Due Process Clause of the Fourteenth
       Amendment to the Constitution;
    f. enjoining Defendant and his agents, employees, and all persons acting under their di-
       rection or control from taking any action to enforce the Act or the challenged portions
       of the Act against Plaintiff or its members;
    g. entering judgment in favor of Plaintiff;
    h. awarding Plaintiff its attorneys’ fees and costs incurred in bringing this action, includ-
       ing attorneys’ fees and costs under 42 U.S.C. § 1988(b) for successful 42 U.S.C. § 1983
       claims against state officials; and
    i. awarding Plaintiff all other such relief as the Court deems proper and just.




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     Dated: October 3, 2024                 Respectfully submitted,

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